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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

  EMERGENCY PHYSICIANS OF ST.                        Civil Action No. 09-cv-6244-WJM-MF
  CLARE’S, LLC, MERCER BUCKS
  ORTHOPEDICS, PC, and PASCACK                       CERTIFICATION OF SERVICE
  EMERGENCY SERVICES,
                                                     Motion Date: March 15, 2010
  On behalf of themselves and all others similarly   Oral Argument Requested
  situated,

                Plaintiffs,                          [Filed Electronically]
  v.

  PROASSURANCE CORPORATION,
  PROASSURANCE CASUALTY COMPANY,
  and PROASSURANCE
  INDEMNITY COMPANY, INC.,

                Defendants.
Case 2:09-cv-06244-WJM-MF           Document 18-4        Filed 02/18/10      Page 2 of 2 PageID: 106




         Michael Dinger, of full age, does hereby certify and declare as follows:

         1.      I am an associate of the firm of Stern & Kilcullen, LLC and counsel to

  defendants ProAssurance Corporation, ProAssurance Casualty Company, and ProAssurance

  Indemnity Company, Inc.

         2.      I hereby certify that on February 18, 2010, I caused copies of the Notice of

  Motion, Brief, Declaration of Michael Dinger, a proposed form of Order and this Certification of

  Service to be served via electronic filing on the Clerk of the Court and on all counsel of record.

         3.      I hereby certify that on February 18, 2010, I caused one set of copies of the above

  documents to be served via federal express on counsel for plaintiffs.

         4.      I hereby certify that on February 18, 2010, I caused one set of courtesy copies of

  the above documents to be delivered via federal express to the Honorable William J. Martini,

  U.S.D.J.

         I certify that the foregoing statements made by me are true. I am aware that if any of the

  foregoing statements made by me are willfully false, I am subject to punishment.



  Dated: February 18, 2010
                                                STERN & KILCULLEN, LLC
                                                75 Livingston Avenue
                                                Roseland, New Jersey 07068
                                                Telephone: 973-535-1900

     _                                          By: /s/ Michael Dinger
     _                                                  Michael Dinger




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